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 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   JAMES GUND AND NORMA GUND,                         Case No.:
12                                 Plaintiffs,
            vs.                                         COMPLAINT FOR VIOLATION OF
13                                                      CIVIL RIGHTS (42 U.S.C. § 1983)
     COUNTY OF TRINITY, CALIFORNIA, a
14   local government entity; CORPORAL RON              DEMAND FOR JURY TRIAL
     WHITMAN, SHERIFF BRUCE HANEY,
15   DOES 1-40 inclusive,
16                           Defendants.
     ___________________________________/
17
            Plaintiffs James Gund and Norma Gund for their complaint against Defendants County of
18
     Trinity, Corporal Ron Whitman, Sheriff Bruce Haney and DOES 1 through 40 hereby allege as
19
     follows:
20
                                            INTRODUCTION
21
            1. On or about March 13, 2011, Trinity County Sheriff’s Corporal Ron Whitman was
22
     advised that a 911 call had been made by a female caller who stated she was located at the end of
23
     the Kettenpom airstrip–an airstrip located within a remote part of Trinity County, Califorina.
24
     Corporal Whitman was advised that the female caller had been whispering “help me” repeatedly and
25
     was further advised that the California Highway Patrol (CHP) dispatcher who had initially had taken
26
     the call believed that the female caller was attempting to avoid being heard. Corporal Whitman was
27
     also informed that efforts to call back the female caller had been unsuccessful.
28
            2. Despite the apparent seriousness of the call and the obvious danger that would be
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 1   associated with responding to the 911 call, Corporal Whitman elected to call two civilians, James
 2   and Norma Gund, who had no law enforcement training or experience, and ask that they check on
 3   the caller. Corporal Whitman did not advise the Gunds of the seriousness of the call, nor did he
 4   inform the Gunds that the caller had been whispering help me repeatedly, nor did he inform the
 5   Gunds that the caller was currently unreachable, nor did he inform the Gunds that the dispatcher who
 6   took the call believe the caller was attempting to avoid being heard. Moreover, Corporal Whitman
 7   told the Gunds that the reason for the 911 call was likely weather related. Relying on the
 8   misrepresentations made by Corporal Whitman, the Gunds agreed to go check on the caller. Having
 9   no fear given Corporal Whitman’s representations, the Gunds entered the residence of the caller and
10   were each violently and savagely attacked by the man who had just murdered the female caller and
11   her boyfriend. James Gund and Norma Gund bring this action to redress the violations of their civil
12   rights and the negligence of Corporal Whitman and the County of Trinity.
13                                    JURISDICTION AND VENUE
14          3. This action, filed to redress the violation of James Gund’s and Norma Gund’s rights
15   under the Fourteenth Amendment to the United States Constitution, arises under the Civil Rights
16   Act of 1871, 42 U.S.C. § 1983.
17          4. This Court has jurisdiction of this case pursuant to 28 U.S.C. § 1331, 28 U.S.C. §
18   1343 and 28 U.S.C. § 1367.
19          5. Venue is proper in this district under 28 U.S.C. § 1331(b) because the Defendants
20   reside in this district and because a substantial part of the events or omissions giving rise to this
21   claim occurred in this district. Per Eastern District Local Rule 120(d), intradistrict venue in
22   Sacramento is proper.
23                                                PARTIES
24          6. At all times herein mentioned, Plaintiff James Gund was a resident of Trinity County,
25   California. Defendants’ conduct in relation to Plaintiff James Gund hereinafter alleged occurred
26   in Trinity County, California.
27   //
28   /

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 1          7. At all times herein mentioned, Plaintiff Norma Gund was a resident of Trinity County,
 2   California. Defendants’ conduct in relation to Plaintiff Norma Gund hereinafter alleged occurred
 3   in Trinity County, California.
 4          8. Plaintiff James Gund and Plaintiff Norma Gund are legally married to each other.
 5          9. Defendant Trinity County is a local government entity. At all relevant times, the
 6   Trinity County Sheriff’s Department was a department or agency of Defendant Trinity County.
 7   Trinity County is a public entity as defined by California Government Code section 811.2.
 8          10. Defendant Corporal Ron Whitman (“Whitman”) at all times herein mentioned was a
 9   resident of Trinity County, California and was a public employee of Defendant Trinity County, to
10   wit a deputy sheriff, as defined by California Government Code section 811.4.
11          11. At all times herein mentioned, Defendant Whitman was the employee of Defendant
12   Trinity County. In doing the things alleged herein, Defendant Whitman was acting within the
13   course and scope of this employment and was acting with the consent, permission and
14   authorization of Defendant Trinity County.
15          12. Defendant Sheriff Bruce Haney (“Haney”) at all times herein mentioned was a
16   resident of Trinity County, California and was a public employee of Defendant Trinity County, to
17   wit, the Sheriff of Trinity County, as defined by California Government Code section 811.4.
18          13. At all times herein mentioned, Defendant Haney was the employee of Defendant
19   Trinity County. In doing the things alleged herein, Defendant Haney was acting within the
20   course and scope of this employment and was acting with the consent, permission and
21   authorization of Defendant Trinity County.
22          14. Defendant Haney, as Sheriff of Trinity County, was responsible for training and
23   supervising his subordinates and for ensuring the Trinity County Sheriff’s Department adopted
24   and enforced proper policies and procedures to protect civilians to the greatest degree possible.
25          15. Plaintiffs are ignorant of the true names or capacities of the Defendants sued herein
26   under the fictitious names Doe 1 through Doe 40, inclusive. Plaintiffs will amend this complaint
27   to allege their true names and capacities when ascertained.
28   /

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 1          16. Plaintiffs are informed and believe that each of the Doe Defendants was responsible
 2   in some manner for the occurrences and injuries alleged in this complaint. At all times herein
 3   mentioned, Doe Defendants 1 through 40 were California residents.
 4          17. At all relevant times, DOES 1-20 were the employees or agents of Defendant Trinity
 5   County and at all relevant times were acting within the course and scope of their employment.
 6   DOES 1-20 had knowledge of the acts, conduct and operative information available to Defendant
 7   Whitman when Defendant Whitman engaged in each of the acts alleged in this complaint.
 8          18. At all relevant times, DOES 21-40 were the employees or agents of Defendant
 9   Trinity County and at all relevant times were acting within the course and scope of their
10   employment.
11          19. At all relevant times, DOES 21-40 had knowledge that persons employed by the
12   Trinity County Sheriff’s Department had, prior to March 13, 2011, asked civilians to assist them
13   in responding to possible emergency situations and therefore knew or should have known that
14   policies or procedures governing requesting that civilians respond to 911 calls were needed in
15   order to prevent injury to citizens.
16          20. DOES 21-40 had at all relevant times the authority to create, change or modify the
17   training, instruction, policies, departmental practices, standard operating procedures and customs
18   of Trinity County Sheriff deputies and the ability to approve or ratify the conduct of Trinity
19   County Sheriff deputies.
20                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
21          21. This claim arises out of an incident that occurred on or about March 13, 2011 in
22   Kettenpom, California, County of Trinity.
23          22. During the course of this incident, Plaintiff James Gund and Plaintiff Norma Gund
24   sustained serious life-threatening injuries during an attack perpetrated by Tomas Gouverneur
25   who brutally assaulted Plaintiffs with a taser gun and a knife.
26   ///
27   //
28   /

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 1            23. Plaintiffs are informed and believe that on or about March 13, 2011, Tomas
 2   Gouvernour attacked and murdered Kristine Constantino and Christopher Richardson, two
 3   individuals living in a house approximately one quarter mile from the Gund residence in close
 4   proximity to the Kettenpom airstrip.
 5            24. On or about March 13, 2011, at approximately 15:28:13, the California Highway
 6   Patrol (CHP) received a 911 call originating in the vicinity of the Kettenpom airstrip. The female
 7   caller was whispering “help me” over and over. When the CHP dispatcher, Amy Walker,
 8   prompted the caller for her location, the female caller stated she was at the end of the Kettenpom
 9   air strip.
10            25. CHP dispatcher Walker, for purposes of responding to the call, contacted the Trinity
11   County Sheriff’s Department and alerted a Trinity County dispatcher, Kathy Morrison, to the
12   call.
13            26. CHP dispatcher Walker communicated to Trinity County dispatcher Morrison that
14   the female caller was whispering “help me” over and over and that when CHP dispatcher Walker
15   had prompted the caller for her location, the female caller stated she was at the end of the
16   Kettenpom air strip.
17            27. CHP dispatcher Walker also communicated to Trinity County dispatcher Morrison
18   her opinion that the 911 caller had been whispering in an attempt to avoid being heard.
19            28. After receiving the aforementioned information from the CHP, Trinity County
20   dispatcher Morrison tried to dial the telephone number provided to the CHP dispatcher by the
21   unknown female caller. Trinity County dispatcher Morrison was unable to reach the caller as
22   there was no answer at the telephone number the caller had previously provided.
23            29. Trinity County dispatcher Morrison then communicated to Defendant Trinity County
24   Sherriff’s Corporal Ron Whitman what had transpired.
25            30. Soon thereafter, Defendant Corporal Ron Whitman called Plaintiffs who resided in a
26   home approximately one quarter mile from the Kettenpom airstrip.
27   //
28   /

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 1          31. During the conversation between Defendant Whitman and Plaintiff Norma Gund,
 2   Defendant Whitman requested that Plaintiffs go “check on Kristine.” Plaintiffs understood
 3   Defendant Whitman to be referring to Kristine Constantino who resided at a home near the
 4   Kettenpom airstrip.
 5          32. Despite having the aforementioned information regarding the 911 call, Defendant
 6   Whitman did not inform Plaintiffs that the caller had been whispering “help me” repeatedly. Nor
 7   did Defendant Whitman share the CHP dispatcher’s opinion that the caller was attempting not to
 8   be heard. Rather, Defendant Whitman told Plaintiffs that the 911 call was likely a phone
 9   malfunction due to the recent inclement weather.
10          33. Soon thereafter, Plaintiffs drove to the Constantino residence in their truck. Plaintiffs
11   had no safety concerns nor any reluctance to following Defendant Whitman’s request because
12   Defendant Whitman had not advised them that a whispering “help me” distress call had been
13   received from the Constantino residence.
14          34. After arriving at the Constantino residence, Plaintiff James Gund stayed in the truck
15   and Plaintiff Norma Gund went up to the residence to contact Kristine Constantino.
16          35. After a short period of time, Plaintiff James Gund heard a commotion coming from
17   the residence. Plaintiff James Gund exited his truck and approached the residence to check on
18   his wife. As Plaintiff James Gund got near the front door, he could see a male Plaintiffs now
19   believe to have been Tomas Gouverneur attacking Plaintiff Norma Gund.
20          36. Specifically, Plaintiff James Gund saw Tomas Gouverneur holding Plaintiff Norma
21   Gund down and saw Gouverneur proceed to cut his wife’s throat with a knife. Plainfff James
22   Gund then ran to the door and entered the house in an attempt to help his wife.
23          37. As Plaintiff James Gund entered the home, Tomas Gouverneur attacked him.
24          38. While Plaintiff James Gund was being attacked, Plaintiff Norma Gund was able to
25   get away and was able to drive their vehicle to the Kettenpom store in an effort to get help.
26          39. Plainiff James Gund was tased and punched repeatedly by Tomas Gouverneur.
27   //
28   /

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 1          40. While being assaulted, Plaintiff James Gund saw a motionless body on the floor of
 2   the residence with a bag over its head. Plaintiff James Gund thereupon believed that the
 3   motionless individual was deceased and that Tomas Gouverneur was going to attempt to kill him.
 4          41. Tomas Gouverneur placed his knife by Plaintiff James Gund’s throat and managed to
 5   cut him. Plaintiff James Gund was however able to grab the knife with his hand and disarm
 6   Tomas Gouverneur.
 7          42. Plaintiff James Gund was then able to escape and ran to his house through the woods
 8   to get to a vehicle. As he was running to his house, Plaintiff James Gund saw Tomas
 9   Gouverneur flee the scene.
10          43. Plaintiff James Gund was able to drive to the Kettenpom store to get help.
11          44. When Plaintiff James Gund arrived at the store, he found his wife and thereafter
12   called 911 to report the incident, giving a description of Tomas Gouverneur and the
13   Gouverneur’s vehicle.
14                                   FIRST CAUSE OF ACTION
                                  VIOLATION OF CIVIL RIGHTS
15                                         42 U.S.C. § 1983
                             (Against Defendant Whitman and DOES 1-20)
16
17          45. Plaintiffs reallege and incorporate as if fully stated herein, each and every allegation
18   contained in paragraphs 1 through 44 of the Complaint.
19          46. Defendant Whitman and DOES 1-20 violated Plaintiffs’ rights under the Fourteenth
20   Amendment of the United States Constitution by placing them in known or reasonably
21   foreseeable danger with deliberate indifference to Plaintiffs’ personal and physical safety.
22          47. Defendant Whitman and DOES 1-20 violated Plaintiffs’ rights under the Fourteenth
23   Amendment of the United States Constitution by asking Plaintiffs, who were untrained civilians,
24   to physically go check on a 911 caller who had been whispering “help me” repeatedly–a caller
25   who could not be reached despite call back attempts and who a CHP dispatcher believed was
26   attempting to avoid being heard.
27   //
28   /

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 1           48. Defendant Whitman and DOES 1-20 further violated Plaintiffs’ right to substantive
 2   due process by providing Plaintiffs with misleading and incorrect information concerning the
 3   nature of the subject 911 call. Specifically, Plaintiffs’ vulnerability and exposure to danger was
 4   enhanced by Defendant Whitman’s misrepresentation regarding the risks they faced when he
 5   asked Plaintiffs to check on Kristine Constantino.
 6           49. The conduct of Defendant Whitman and DOES 1-20 affirmatively placed Plaintiffs
 7   in a position of danger by creating and exposing Plaintiffs to a danger which they would not have
 8   otherwise faced but for his action.
 9           50. Defendant Whitman and DOES 1-20 acted with deliberate inference when they
10   disregarded the known or obvious consequences of their conduct.
11           51. By and through doing the aforementioned, a special relationship between Defendant
12   Whitman, DOES 1-20 and Plaintiffs was created as by and through Defendant Whitman’s
13   conduct, to wit, requesting that Plaintiffs respond to a 911 call by checking on Kristine
14   Constantino and misrepresenting the nature of the 911 call when doing so, Defendant Whitman
15   and DOES 1-20 took affirmative action which contributed to, increased or changed the risk of
16   harm to Plaintiffs.
17           52. By and through doing the aforementioned, Defendant Whitman and DOES 1-20
18   breached the duty of care owed Plaintiffs that was reflective of the special relationship created.
19           53. As a proximate result of the conduct of Defendant Whitman and DOES 1-20,
20   Plaintiffs were seriously injured.
21           54. Defendants’ conduct as alleged herein was despicable conduct and was carried on by
22   Defendants with a wilful and conscious disregard of the rights and safety of Plaintiffs.
23   Defendants’ conduct subjected Plaintiffs to cruel and unjust hardship in conscious disregard of
24   Plaintiffs’ rights.
25   ////
26   ///
27   //
28   /

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 1                                     SECOND CAUSE OF ACTION
                                      VIOLATION OF CIVIL RIGHTS
 2                                            42 U.S.C. § 1983
                                     (Against Defendant Trinity County)
 3
              55. Plaintiffs reallege and incorporate as if fully stated herein, each and every allegation
 4
     contained in paragraphs 1 through 54 of the Complaint.
 5
              56. The conduct of Defendant Whitman and DOES 1-20, i.e., requesting that Plaintiffs
 6
     physically investigate a 911 call wherein the caller had been whispering “help me” repeatedly,
 7
     where the caller was later unreachable and where the CHP dispatcher had indicated an opinion
 8
     that the caller was attempting to avoid being heard, deprived Plaintiffs of their rights under the
 9
     Fourteenth Amendment to the United States Constitution.
10
              57. This aforementioned conduct of Defendant Whitman and DOES 1-20 was the result
11
     of training, instruction, longstanding departmental practice, policy and custom which constitutes
12
     the standard operating procedure of the County of Trinity. Among other things, Defendant
13
     Trinity County failed to adequately train Defendant Whitman and DOES 1-20 with respect to
14
     when, if ever, deputies may request that civilians respond to a 911 call for aid and how deputies
15
     should themselves respond to a 911 call for aid.
16
              58. Defendant Trinity County has a long standing practice or custom of approving and
17
     ratifying its deputies improper use of civilians to respond to dangerous emergency situations.
18
     Defendant Whitman and DOES 1-20 were acting pursuant to training, instruction, longstanding
19
     departmental practice, policy and custom when they requested that Plaintiffs physically
20
     investigate a 911 call wherein the caller had been whispering “help me” repeatedly, the caller
21
     was later unreachable and that the CHP dispatcher had indicated an opinion that the caller was
22
     attempting to avoid being heard.
23
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 1           59. On or about January 21, 1997, Plaintiffs are informed, and therefore believe, that
 2   Carole Laag, a civilian, was murdered by Haskell Hall after Trinity County Sheriff’s deputies
 3   asked her to assist them in extricating Hall from his residence. Defendant Trinity County
 4   therefore had actual knowledge that persons employed by the Trinity County Sheriff’s
 5   Department had, prior to March 13, 2011, asked civilians to assist them in responding to possible
 6   emergency situations and therefore knew or should have known that policies or procedures
 7   governing requesting that civilians respond to 911 calls were needed in order to prevent injury to
 8   citizens.
 9           60. Defendant Trinity County, its agents or employees, were aware of the
10   aforementioned deficiencies in training, instruction, longstanding departmental practice, policy
11   and custom but nonetheless failed to correct the deficiencies despite having the authority to do
12   so. This failure to train Defendant Whitman and DOES 1-20 or create adequate, polices,
13   procedures, customs and standard operating procedures amounts to deliberate indifference to
14   Plaintiffs’ constitutional rights and were the moving force behind their injuries.
15           61. As a result of the conduct of Defendant Whitman and DOES 1-20, which constituted
16   violations of Plaintiffs’ rights under the Fourteenth Amendment of the United States
17   Constitution, and was done pursuant to training, instruction, longstanding departmental practice,
18   policy and custom of Defendant Trinity County, Plaintiffs suffered serious injury.
19                                     THIRD CAUSE OF ACTION
                                     VIOLATION OF CIVIL RIGHTS
20                                           42 U.S.C. § 1983
                                    (Against Defendant Trinity County)
21
22           62. Plaintiffs reallege and incorporate as if fully stated herein, each and every allegation
23   contained in paragraphs 1 through 61 of the Complaint.
24   /////
25   ////
26   ///
27   //
28   /

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 1           63. The conduct of Defendant Whitman and DOES 1-20, i.e., misrepresenting to
 2   Plaintiffs the nature and content of the at issue 911 emergency call and by failing to inform
 3   Plaintiffs all facts known regarding the content of the at issue 911 call including, but not limited
 4   to, the fact that the caller had been whispering “help me” repeatedly, that the caller was later
 5   unreachable and that the CHP dispatcher had indicated an opinion that the caller was attempting
 6   to avoid being heard, deprived Plaintiffs of their rights under the Fourteenth Amendment to the
 7   United States Constitution.
 8           64. This aforementioned conduct of Defendant Whitman and DOES 1-20 was the result
 9   of training, instruction, longstanding departmental practice, policy and custom which constitutes
10   the standard operating procedure of the County of Trinity. Among other things, Defendant
11   Trinity County failed to adequately train Defendant Whitman and DOES 1-20 with respect to
12   when, if ever, deputies may request that civilians respond to a 911 call for aid and how they as
13   deputies should communicate pertinent information regarding such calls to civilians.
14           65. Defendant Trinity County has a long standing practice of approving and ratifying its
15   deputies improper use of civilians to respond to dangerous emergency situations. Defendant
16   Whitman and DOES 1-20 were acting pursuant to training, instruction, longstanding
17   departmental practice, policy and custom when they misrepresented to Plaintiffs the nature and
18   content of the at issue 911 call.
19           66. On or about January 21, 1997, Plaintiffs are informed, and therefore believe, that
20   Carole Laag, a civilian, was murdered by Haskell Hall after Trinity County Sheriff’s deputies
21   asked her to assist them in extricating Hall from his residence. Defendant Trinity County
22   therefore had actual knowledge that persons employed by the Trinity County Sheriff’s
23   Department had, prior to March 13, 2011, asked civilians to assist them in responding to possible
24   emergency situations and therefore knew or should have known that policies or procedures
25   governing what information should be conveyed to civilians when civilians are asked to respond
26   to 911 calls.
27   //
28   /

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 1          67. Defendant Trinity County was aware of the aforementioned deficiencies in training,
 2   polices, procedures, customs and standard operating procedures but nonetheless failed to correct
 3   the deficiencies despite having the authority to do so. This failure to train Defendant Whitman
 4   and DOES 1-20 or create adequate, polices, procedures, customs and standard operating
 5   procedures amounts to deliberate indifference to Plaintiffs’ constitutional rights and were the
 6   moving force behind their injuries.
 7          68. As a result of the conduct of Defendant Whitman and DOES 1-20, which constituted
 8   violations of Plaintiffs’ rights under the Fourteenth Amendment of the United States
 9   Constitution, and was done pursuant to the training, instruction, longstanding departmental
10   practice, policy and custom of Defendant Trinity County, Plaintiffs suffered serious injury.
11
12                                  FOURTH CAUSE OF ACTION
                                  VIOLATION OF CIVIL RIGHTS
13                                         42 U.S.C. § 1983
                              (Against Defendant Haney and DOES 21-40)
14
            69. Plaintiffs reallege and incorporate as if fully stated herein, each and every allegation
15
     contained in paragraphs 1 through 68 of the Complaint.
16
            70. The conduct of Defendant Whitman and DOES 1-20, i.e., requesting that Plaintiffs
17
     physically investigate a 911 call wherein the caller had been whispering “help me” repeatedly,
18
     where the caller was later unreachable and where the CHP dispatcher had indicated an opinion
19
     that the caller was attempting to avoid being heard, deprived Plaintiffs of their rights under the
20
     Fourteenth Amendment to the United States Constitution.
21
            71. This aforementioned conduct of Defendant Whitman and DOES 1-20 was the result
22
     of training, instruction, longstanding departmental practice, policy and custom which constitutes
23
     the standard operating procedure of the County of Trinity. Among other things, Defendant
24
     Trinity County failed to adequately train Defendant Whitman and DOES 1-20 with respect to
25
     when, if ever, deputies may request that civilians respond to a 911 call for aid and how deputies
26
     should themselves respond to a 911 call for aid.
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 1          72. Defendant Trinity County has a long standing practice of approving and ratifying its
 2   deputies improper use of civilians to respond to dangerous emergency situations. Defendant
 3   Whitman and DOES 1-20 were acting pursuant to training, instruction, longstanding
 4   departmental practice, policy and custom when they requested that Plaintiffs physically
 5   investigate a 911 call wherein the caller had been whispering “help me” repeatedly, the caller
 6   was later unreachable and that the CHP dispatcher had indicated an opinion that the caller was
 7   attempting to avoid being heard.
 8          73. On or about January 21, 1997, Plaintiffs are informed, and therefore believe, that
 9   Carole Laag, a civilian, was murdered by Haskell Hall after she was asked by Trinity County
10   Sheriff’s deputies to assist them in extricating Hall from his residence. Defendant Trinity County
11   therefore had actual knowledge that persons employed by the Trinity County Sheriff’s Office
12   had, prior to March 13, 2011, asked civilians to assist them in responding to possible emergency
13   situations and therefore knew or should have known that policies or procedures governing
14   requesting that civilians respond to 911 calls were needed in order to prevent injury to citizens.
15          74. Defendant Haney and DOES 21-40 were aware of the aforementioned deficiency in
16   training, instruction, longstanding departmental practice, policy and custom but nonetheless
17   failed to correct the deficiency despite having the authority to do so. This failure to train
18   Defendant Whitman and DOES 1-20 or create adequate polices, procedures, customs or standard
19   operating procedures amounts to deliberate indifference to Plaintiffs’ constitutional rights and
20   were the moving force behind their injuries.
21          75. As a result of the conduct of Defendant Whitman and DOES 1-20, which constituted
22   violations of Plaintiffs’ rights under the Fourteenth Amendment of the United States
23   Constitution, and was done pursuant to the training, instruction, longstanding departmental
24   practice, policy and custom of Defendant Trinity County, Plaintiffs suffered serious injury.
25          76. The conduct of Defendant Haney and DOES 21-40 as alleged herein was despicable
26   conduct and was carried on by Defendant Haney and DOES 21-40 with a wilful and conscious
27   disregard of the rights and safety of Plaintiffs. Defendants’ conduct subjected Plaintiffs to cruel
28   and unjust hardship in conscious disregard of Plaintiffs’ rights.

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 1
                                      FIFTH CAUSE OF ACTION
 2                                 VIOLATION OF CIVIL RIGHTS
                                            42 U.S.C. § 1983
 3                             (Against Defendant Haney and DOES 21-40)
 4
            77. Plaintiffs reallege and incorporate as if fully stated herein, each and every allegation
 5
     contained in paragraphs 1 through 76 of the Complaint.
 6
            78. The conduct of Defendant Whitman and DOES 1-20, i.e., misrepresenting to
 7
     Plaintiffs the nature and content of the at issue 911 emergency call and by failing to inform
 8
     Plaintiffs all facts known regarding the content of the at issue 911 call including, but not limited
 9
     to, the fact that the caller had been whispering “help me” repeatedly, that the caller was later
10
     unreachable and that the CHP dispatcher had indicated an opinion that the caller was attempting
11
     to avoid being heard, deprived Plaintiffs of their rights under the Fourteenth Amendment to the
12
     United States Constitution.
13
            79. This aforementioned conduct of Defendant Whitman and DOES 1-20 was the result
14
     of longstanding training, instruction, departmental practice, policy and custom which constitutes
15
     the standard operating procedure of the County of Trinity. Among other things, Defendant
16
     Trinity County failed to adequately train Defendant Whitman and DOES 1-20 with respect to
17
     when, if ever, deputies may request that civilians respond to a 911 call for aid and how they as
18
     deputies should communicate pertinent information regarding such calls to civilians.
19
            80. Defendant Trinity County has a long standing practice of approving and ratifying its
20
     deputies improper use of civilians to respond to dangerous emergency situations. Defendant
21
     Whitman and DOES 1-20 were acting pursuant to training, instruction and longstanding
22
     departmental practice, policy and custom when they misrepresented to Plaintiffs the nature and
23
     content of the at issue 911 emergency call and failed to inform Plaintiffs all facts known
24
     regarding the content of the at issue 911 call.
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 1           81. On or about January 21, 1997, Plaintiffs are informed, and therefore believe, that
 2   Carole Laag, a civilian, was murdered by Haskell Hall after Trinity County Sheriff’s deputies to
 3   asked her to assist them in extricating Hall from his residence. Defendant Haney and DOES 21-
 4   40 had actual knowledge that persons employed by the Trinity County Sheriff’s Department had,
 5   prior to March 13, 2010, asked civilians to assist them in responding to possible emergency
 6   situations and therefore knew or should have known that dramatically different policies or
 7   procedures governing requests that civilians respond to 911 calls were needed in order to prevent
 8   injury to citizens.
 9           82. Defendant Haney and DOES 21-40 were aware of the aforementioned deficiency in
10   training, instruction, longstanding departmental practice, policy and custom but nonetheless
11   failed to correct the deficiency despite having the authority to do so. This failure to train
12   Defendant Whitman and DOES 1-20 or create adequate polices, procedures, customs or standard
13   operating procedures amounts to deliberate indifference to Plaintiffs’ constitutional rights and
14   were the moving force behind their injuries.
15           83. As a result of the conduct of Defendant Whitman and DOES 1-20, which constituted
16   violations of Plaintiffs’ rights under the Fourteenth Amendment of the United States
17   Constitution, and was done pursuant to the to training, instruction and longstanding departmental
18   practice, policy and custom of Defendant Trinity County, Plaintiffs suffered serious injury.
19           84. The conduct of Defendant Haney and DOES 21-40 as alleged herein was despicable
20   conduct and was carried on by Defendant Haney and DOES 21-40 with a wilful and conscious
21   disregard of the rights and safety of Plaintiffs. Defendants’ conduct subjected Plaintiffs to cruel
22   and unjust hardship in conscious disregard of Plaintiffs’ rights.
23
     WHEREFORE, Plaintiffs pray for judgment as follows:
24
             1. Compensatory and general damages in the amount of at least $10,000,000;
25
             2. For punitive damages where permissible by law in an amount appropriate to punish
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     Defendants for their conduct and deter Defendants’ conduct;
27
             3. Costs of suit and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;
28
             4. For such other and further relief as the court deems proper.
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           1
                   Dated: March 6, 2013                        ZWERDLING, BRAGG & MAINZER, LLP
           2
                                                               By:                    /S/
           3
                                                                      BENJAMIN H. MAINZER
           4                                                   Attorneys for Plaintiffs, James and Norma Gund
           5
           6                                       JURY TRIAL DEMANDED
           7             Plaintiffs demand a jury trial on each cause of action alleged herein.
           8
           9       Dated: March 6, 2013                        ZWERDLING, BRAGG & MAINZER, LLP
         10
         11                                                    By:                    /S/
         12                                                           BENJAMIN H. MAINZER
                                                               Attorneys for Plaintiffs, James and Norma Gund
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